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                                   STATEMENT OF FACTS

        Your affiant, MATTHEW R. OLIVER, is a Special Agent assigned to Tampa Division/
Orlando RA’s Safe Street Task Force. In my duties as a special agent, I conduct investigations,
make arrests, and execute and serve search and arrest warrants for offenses enumerated in Title 21
and Title 18 of the United States Code. Currently, I am tasked with investigating criminal activity
in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                   TRACI ISAACS ACTIVITIES

        On January 11, 2021, the FBI received a tip from a witness (“Witness-1”) that “Traci Isacc”
(ISAACS) 1 had posted a video of herself “storming the capitol” on Facebook and a picture of
herself with a guy in full tactical gear, possibly her nephew. Subsequently, Witness-1 explained
that s/he knew “Issacs” from growing up. Witness-1 also clarified that, on January 6, 2021, s/he
had observed videos from the protest in Washington, D.C. and of “Issacs” on the steps of the
Capitol on “Issac’s” Facebook page, but that the videos had since been taken down. Witness-1
also provided the screenshot below from Isaac’s Facebook page, which based on the timestamp, I
believe was posted on or about January 5, 2021:




Witness-1 identified the female person in the picture above as ISAACS and stated that the male
person might be ISAACS’s nephew. 2

1
  Based on the information provided by Witness-1, including screenshots of the Facebook page that s/he
viewed, I believe that the individual Witness-1 was referencing was TRACI ISAACS and that the various
spellings of “Isaacs” used by Witness-1 are typographical errors.
2
  Based on my involvement in this investigation and other investigations pertaining to the breach of the
U.S. Capitol on January 6, 2021, I have learned that the male depicted in this picture is, in fact, ISAACS’s
nephew, William Isaacs (WILLIAM). WILLIAM, along with other co-conspirators, is currently charged
via Indictment in docket 21-cr-28 (APM) with violating 18 U.S.C. § 1512(k) (conspiracy to obstruct an

                                                     2
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        On January 16, 2021, I attempted to interview ISAACS at her residence in Florida.
ISAACS informed me that she was represented by an attorney and I advised her that the
investigation was related to trespassing at the Capitol.

        Later in the day on January 16, 2021, the FBI received a telephone call from ISAACS’s
attorney (“Attorney-1”). Attorney-1 informed me that ISAACS had not been part of the initial
wave that entered the Capitol on January 6, 2021, but that she entered later, passing two police
officers.

        On March 29, 2021, the FBI conducted an interview of ISAACS, who was represented by
a different attorney (“Attorney-2”). During the interview, ISAACS stated the following, among
other things:

              a.       ISAACS became a member of the Oath Keepers 3 in approximately 2016.
Her membership lapsed approximately one year later. Occasionally she would pay for a monthly
membership, but did not maintain a yearly membership. In approximately January 2021,
ISAACS paid for a new yearly membership because she wanted access to the Oath Keeper
forums in order to determine if others would be traveling from Florida to Washington, D.C. On
approximately January 3 or January 4, 2021, ISAACS submitted an application to volunteer with
the Oath Keepers at events in Washington, D.C. on January 6, 2021 because she was previously
a paramedic. ISAACS and her nephew were also part of a chat group on Signal, an encrypted
messaging application, to which other Oath Keeper members sent a list of items to bring to the
event on January 6, 2021. ISAACS stated that her Signal chat username was Shelby Cobra.

               b.      In January 2021, ISAACS traveled to Washington, D.C. with her husband,
her nephew, and another woman, 4 arriving at approximately 3:00 a.m. on January 5, 2021.
ISAACS said she brought a small medical kit and a radio with her to Washington, D.C., but did
not buy or bring protective gear. ISAACS also stated that she purchased a radio for her nephew.


official proceeding); 18 U.S.C. §§ 1512(c)(2), 2 (obstruction of an official proceeding and aiding and
abetting); 18 U.S.C. § 372 (conspiracy to prevent an officer from discharging any duties); 18 U.S.C. §§
1361, 2 (destruction of government property and aiding and abetting); 18 U.S.C. 1752 (a)(1) (entering and
remaining in a restricted building or grounds); and 18 U.S.C. §§ 231(a)(3), 2 (civil disorder and aiding
and abetting).
3
  Law enforcement and news-media organizations observed that members of a paramilitary organization
known as the Oath Keepers were among the individuals and groups who forcibly entered the U.S. Capitol
on January 6, 2021. The Oath Keepers are a large but loosely-organized collection of militia that believe
that the federal government has been coopted by a shadowy conspiracy that is trying to strip American
citizens of their rights. Though the Oath Keepers will accept anyone as members, what differentiates
them from other anti-government groups is their explicit focus on recruiting current and former military,
law enforcement, and first-responder personnel. The organization’s name alludes to the oath sworn by
members of the military and police to defend the Constitution “from all enemies, foreign and domestic.”
4
  ISAACS did not want to name this individual. However, according to a review of WILLIAM’s cellular
telephone device, ISAACS identified the e-mail address of one of her co-travelers, and further
investigation identified that individual as LESLIE GRAY (“GRAY”).

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                c.      On January 6, 2021, ISAACS, her husband, and the woman with whom
they traveled walked to the Capitol from the Ellipse. She went to the side of the Capitol by the
Supreme Court because another individual told her the Oath Keepers would be located in that
area. ISAACS sat on the steps of the Capitol building and observed people coming in and out.
She stated that there was a line of people, it was not a mob, it was very calm, and there was no
yelling or screaming. ISAACS entered the Capitol building, and took pictures before leaving
after approximately 10-12 minutes. While inside the Capitol building, ISAACS saw riot police
approaching and asked for help getting out through the crowd. ISAACS explained that there was
a stampede of people trying to push out of the doors. However, an officer helped her down from
a statute she was partially standing on and people made a hole for her to exit. She stated that her
husband was with her inside and that her nephew was not with her at or inside of the Capitol.
However, ISAACS stated she later learned that her nephew entered the Capitol.

               d.     During the interview, ISAACS referred to her husband without specifying
his name. However, she later stated that her maiden name is ISAACS, her married name is
Hallon, and that she married her husband the previous month, although they have been together
for approximately 17 years. 5

                e.      While inside, ISAACS said she took a picture of the ceiling and a statute
of Gerald Ford but did not steal or damage anything. ISAACS posted to Facebook from the
Capitol, but later deleted the post. The photographs and videos that ISAACS took were still on
her cellphone.

              f.     ISAACS identified herself and her nephew as the individuals in the
photograph provided by Witness-1 (depicted above).

        A review of WILLIAM’s cellular telephone pursuant to a search warrant revealed a
Signals group chat called “OK FL DC OP Jan 6,” in which ISAACS participated under username
“Shelby Cobra.” This group chat included discussions on the coordination of travel, lodging,
and logistics for the OKFL chapter’s plan for January 6. The discussion also included the
security detail they will be providing, people bringing gear, and dropping off of weapons.

       ISAACS stated that she was on the road on January 4, 2021, with two people who were
not Oathkeeper members but that one of those individuals had applied. She identified the
individual with a pending application as having e-mail address lesliegray46@yahoo.com, who
was later determined to be GRAY. She also stated that the other non-member was her husband.
ISAACS asked on that group chat what non-members would be doing because she could not
separate from her non-Oathkeeper companions. A review of these messages revealed ISAACS
maintained contact with other Oathkeepers on January 5, 2021, and January 6, 2021. On January
5, 2021, at approximately 11:55 a.m., ISAACS messaged that she was headed to Freedom Plaza.
At approximately 1:23 p.m., ISAACS stated she was still at Freedom Plaza and wanted to find
everyone. A few minutes later, she messaged that she found the “Ohio Team” and identified
where they were located. At approximately 2:50pm on January 6, 2021, ISAACS messaged that
she “got tear gassed good.” At approximately 3:28 p.m. ISAACS messaged that she was on the
5
 While ISAACS, during her interview, stated her married name is Hallon, her driver’s license reflects the name
ISAACS.

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Capitol steps. On January 7, 2021, she messaged the group that they were headed out. Another
user messaged that “It was an honor surviving with you. Will be in touch.” ISAACS responded
“Historic” and WILLIAMS responded “It was God damn glorious.”

                                LUIS HALLON’S ACTIVITIES

       As discussed above, during her interview, ISAACS stated that she had been inside the
Capitol building with her husband. Based on my review of Florida’s Department of Motor
Vehicle records, I have learned that LUIS HALLON resides at the same address as ISAACS.

       On May 4, 2021, I attempted to interview HALLON at his residence in Florida.
HALLON informed the FBI that he wanted to consult with an attorney. On May 24, 2021, the
FBI received an email from Attorney-1, informing the FBI, in substance and in part that:

              a.       On January 4, 2021, HALLON traveled to Washington, D.C., with his wife,
his nephew, and a friend. They intended to “peacefully exercise their rights” and did not bring any
weapons with them.

                b.     On January 6, 2021, HALLON and others first went to the White House,
then to the Capitol. They observed barriers in the Capitol parking lot and so stayed near a fountain
where they listened to two preachers talk. At some point, one of the speakers informed the crowd
that they had requested that the U.S. Capitol Police (“USCP”) allow the crowd to reach the Capitol
steps. After approximately an hour, HALLON and others made their way to a barrier and engaged
in conversation with a USCP officer. The police officer told HALLON and his wife that it was
“okay for them to go” and moved the barrier so that they could “run” to the Capitol steps. At that
point the crowd began stampeding, so HALLON and his wife ran to the Capitol steps. There,
USCP officers told them to stop and they did. The USCP then proceeded to step backwards until
they had formed a line at the entrance of the Capitol building. HALLON and his wife stayed there
and chanted along with the crowd.

               c.      USCP then released a tear gas-like substance into the crowd, which caused
HALLON and his wife’s eyes to burn. HALLON and his wife remained in an area outside of the
Capitol building for approximately an hour.

               d.      HALLON and his wife then noticed that other people were entering and
exiting the Capitol building and decided to go inside to “check it out.” When the entered a USCP
officer was present at the door, but did not say anything to them, so they believed it was okay to
go inside. Once inside, they took pictures, including of and with a statute of President Ford.

              e.      After a loud noise, police instructed the crowd to leave. HALLON and his
wife attempted to do so, however, HALLON’s wife was stuck near the statue of President Ford.
HALLON asked the police to help him and his wife exit safely and a police officer directed them
out. The police and the crowd opened a pathway so that they could exit quickly.




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              g.    HALLON and his wife remained in the vicinity of the Capitol for
approximately 20 minutes before heading back to their hotel. They started their trip home the
next day.

                 h.      According to Attorney-1, HALLON and his wife never had any intention
to inflict harm on anyone or take over the Capitol. They only intended to peacefully exercise
their rights, or alternatively, to engage in a peaceful protest and eventually visit the Capitol
building which appeared to be opened to them at the time of their entrance.



              ISAACS AND HALLON’S ACTIVITIES ON JANUARY 6, 2021

        On April 7, 2021, Attorney-2 provided the FBI with ISAACS’s cellular telephone device
pursuant to a subpoena. On April 12, 2021, the FBI obtained a search warrant for ISAACS’s
cellular telephone. Through the records received in response to this warrant, I observed a
photograph of what appears to be a selfie of ISAACS in the Capitol.




                                     (ISAACS circled in red)


        Additionally, based on my review of ISAACS’s cellphone, on January 2, 2021, ISAACS
sent a text message stating:

               I joined Oath Keepers and might be volunteering with them while we are up there
               – not on the front line, old fat girls don’t do that, but somewhere in the support
               crew. Lou isn’t happy about that, he just wants to go and not be in the fray, so I
               am still working on him. I was thinking more like volunteering to render first aid
               as opposed to being in riot gear, though it suits my personality, I am just too old
               for that type of thing now. Lol

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       During the morning of January 6, 2021, ISAACS texted, “We are gonna check in with
Oath Keepers at the Capitol building.” The following day, on January 7, 2021, ISAACS sent a
text message stating, “Lou and I walked into the Capitol about 20 feet to look around, just the
foyer on the side facing the Supreme Court. We did not break anything down or steal shit.
Thousands were inside and the riot police came so we got out.” A review of ISAACS’s
cellphone revealed that she deleted these messages from her phone.

       I have reviewed HALLON’s Facebook profile picture, which is depicted below:




Having personally interacted with ISAACS and HALLON, I was able to identify ISAACS and
HALLON in the U.S. Capitol on January 6, 2021, via Capitol surveillance video. Based on my
review of surveillance footage from the U.S. Capitol building, ISAACS and HALLON entered
the Capitol building via the Columbus Doors, which are also known as the Rotunda Doors, at
approximately 3:02 p.m. on January 6, 2021, and exited through the same doors at approximately
3:16 p.m. ISAACS and HALLON each appeared to be holding a cellular telephone device as
they proceeded towards the Rotunda as though they were photographing or video recording their
surroundings. ISAACS and HALLON were located in the Rotunda from approximately 3:05
p.m. until approximately 3:15 p.m. Below are depictions from surveillance videos with ISAACS
circled in red and HALLON circled in green.




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                  (entering approximately 3:02 P.M.)




          (ISAACS and HALLON walking towards the Rotunda)




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                               (exiting at approximately 3:16 P.M.)


                        ISAACS’s ACTIVITIES AFTER JANUARY 6, 2021

       Based on my review of ISAACS’s cellphone, I have learned that ISAACS and HALLON
engaged in the following message exchange on January 25, 2021, which was deleted based on a
review of ISAACS’s cellphone. 6 As noted above, the FBI first encountered ISAACS on January
16, 2021, and the below messages, therefore, were sent/received and deleted after the FBI
attempted to interview ISAACS.

    HALLON:          All good do far
    HALLON:          We were back… at least 20 ft
    ISAACS:          Ok. Awesome
    HALLON:          Doors open from inside no one from out side crow broke doors to get in
    HALLON:          As I said my videos u have no violence participation n our crow we were
                     dif not brake any doors
    ISAACS:          I know we didnt but I didn’t know what was on there.
    ISAACS:          Get an idea on the time that I went inside to take the photo.
    ISAACS:          When you are done with ours, check Williams please
    ISAACS:          I know that taking that stupid [expletive] picture of Gerald Ford was an
                     afterthought so it must have been really late.

       Based on my review of ISAACS’s cellphone, I have learned that, in the days following
January 6, 2021, ISAACS engaged in the following text message exchange with WILLIAM,
which were all deleted based on a review of ISAACS’s cellphone.




6
 While messages were deleted from ISAACS’s cellphone, the FBI was able to recover some of the
deleted messages from an analysis of the cellphone.

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 January 12,     WILLIAM:            The only problem is my armor
 2021
 January 12,     WILLIAM:            A lot of people took pictures of me but that was mostly the
 2021                                first day
 January 14,     ISAACS:             I don't think we have your phone insured under our plan so I
 2021                                cant trade it in now that it's broken. New phone on the way.
                                     Sorry kid. Go to Tmobile and get a new SIM card. Don't
                                     install in the old phone. Wait for the new one that I ordered.
                                     Should be there by Tuesday. When it comes, I need you to
                                     screenshot me the SIM card number so I can register it under
                                     your number before you install it into the new phone. If you
                                     need a new SD memory Card for your new phone, go buy
                                     one.
                                     The old one is probably corrupt and can not be used. No
                                     need to bring it to me to do, you can do this.
 January 14,     WILLIAM:            Do I work on scrubbing evidence or do I do school
 2021

       Based on my review of ISAACS’s cellphone, I have learned that, on January 7, 2021,
ISAACS sent the following text messages to another individual, which were all deleted based on
a review of ISAACS’s cellphone:

 ISAACS:       We are all Oathkeepers so they’re going to fuck with us probably
 ISAACS:       It was glorious but kinda fucked up. We should have done this differently. We
               should have occupied the Capitol with demands
 ISAACS:       He was on TV with Oathkeepers deep in Capitol fighting cops
 ISAACS:       Behind them. No photos yet but eventually
 ISAACS:       Right now looks like trespassing. Big meh.
 ISAACS:       Did you delte that video
 ISAACS:       It won’t let me do it on my end
 ISAACS:       Oh good. You did! Thanks

       Based on my review of ISAACS’s cellphone, I have learned that, in the days following
January 6, 2021, ISAACS sent the following text messages to another individual, which were all
deleted based on a review of ISAACS’s cellphone:

 ISAACS on January 7, 2021: It was fucking glorious
 ISAACS on January 7, 2021: Tear gas shucked
 ISAACS on January 10, 2021: Delete anything I sent you please. Feds are going after people
                             hard.
 ISAACS on January 10, 2021: Did you share anything I sent ?

        Based on my review of ISAACS’s cellphone, I have learned that on January 12, 2021,
ISAACS sent the following text message to GRAY, which was later deleted from ISAACS’s
cellphone, ““Girl I almost had a heart attack last night. FBI keep putting up more pictures and
for a second, I thought one was me. It’s not me but holy [expletive] did I get instantly sick.” In

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addition to her message to GRAY, ISAACS sent other messages regarding a potential criminal
charge. For example, on January 7, 2021, she messaged to someone, “Just waiting for my photo
to show up on Metro PD persons of interest list.” On January 9, 2021, she texted another person,
“We are probably OK but were part of the Capitol Riot and I got reported to the FBI.”

                                 LESLIE GRAY’S ACTIVITIES

        Pursuant to a search warrant related to “[l]ive videos from inside the US Capitol,”
Facebook provided records for Facebook account 100000017807511, registered to Leslie Nash
GRAY of St. Cloud, Florida with e-mail address lesliegray46@yahoo.com. Additional
information received from Facebook revealed that GRAY’s Facebook account geolocated to
points both in and around the U.S. Capitol on January 6, 2021. The records also revealed that on
January 3, 2021, GRAY posted about going to Washington, D.C. on January 6, 2021, and
ISAACS replied to the post stating that she had news related to their trip to share with GRAY.




        Additionally, the records included multiple Facebook videos of GRAY’s activity in and
around the U.S. Capitol on January 6, 2021. In some videos, GRAY turned the camera on
herself while talking, and based on those portions of the video, the female voice talking and/or
screaming appears to be that of GRAY.

       For example, in one video, the crowd outside the Capitol is in view and a female voice
can be heard yelling “USA” repeatedly. At one point, the camera turns to face the videographer,
who has the same voice as the female previously heard yelling “USA.” The videographer
appears to be GRAY 7 who then repeatedly yells, “Stop the steal!” The camera is then turned


7
  As described below, I later interacted with GRAY and believe the female being depicted and heard in
these videos is GRAY.

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back to face the crowd and the Capitol. Moments later, Gray can be heard yelling, “Go! Go! Go!
Get out of my damn way! Go! Go!” while the crowd goes up the Capitol steps. At the top of the
steps, GRAY is heard yelling, “this is what you want – this is what you got!” GRAY then turned
the camera around on herself again and stated, “we are up to the doors now… we are about to
breach Congress.” GRAY then yelled that they (likely a reference to law enforcement officers)
were throwing flashbangs at them, GRAY later videoed law enforcement officers in the area and
called them “traitors.”




          (while yelling, “stop the steal!”)      (while stating, “we are about to breach Congress”)

       In another video, GRAY entered the Rotunda and then while filming herself, stated, “I am
in Congress. This is our house. This is our house! . . . I don’t know what we are doing now but
we are in here. We’ve taken it.”

        In another video inside the Capitol, GRAY is heard repeatedly yelling, “traitor” towards
law enforcement officers who were standing near an adjoining hallway. Moments later, at
approximately 2:46 p.m., GRAY walked towards these officers while continuing to film. An
officer stopped Gray and asked if she was trying to leave. GRAY replied, “I am trying to go in.”
After the officer told GRAY that she cannot go in, GRAY stated that she was going in. Gray then
repeatedly stated “this is our house.” She also told the officer to “step aside” and “I am going in.”
GRAY was ultimately able to get past the officer and stated, “he told me I am not coming in? I am
coming in. Damn right I am coming in.” GRAY then continued to walk through the Capitol as
the building alarms are audible in the video.

        The above interaction was captured via Capitol surveillance cameras. In the video, officers
can be seen stopping individuals briefly before letting them into an adjoining hallway. GRAY,
who I am able to identify based, in part, on my prior in-person interactions with her and GRAY’s
Facebook, can be observed approaching an officer, appearing to film the encounter, and then had
a brief exchange with the officer. 8 GRAY can then be observed pushing past the officer.


8
    The sound of the conversation was not captured on surveillance video.

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                                    (Gray circled in green)




                        (Gray circled in green pushing past an officer)

        In another video, GRAY films the exterior of the Capitol while stating, “We stormed the
Capitol today. The Capitol police or antifa – I don’t know masquerading as Capitol police – that
is what some people are saying – shot a woman today.” GRAY then turned the camera to face
herself, and continued to talk about the shooting, and stated “… this revolution that in earnest
began today. We will take back our country from the communists . . . American patriots stormed
the Capitol today. I am an American patriot. I stormed the Capitol today.”


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             (while outside the Capitol talking about having stormed the Capitol)

       Based on a review of Capitol surveillance videos, I observed GRAY entering the U.S.
Capitol at approximately 2:41p.m. via the Columbus Doors, which are also known as the Rotunda
Doors. GRAY then traveled to multiple areas of the Capitol including the Rotunda and Statutory
Hall before leaving at approximately 2:57 p.m.




          (GRAY circled in red at approximately 2:41 p.m., after entering the Capitol)




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               (GRAY circled in red in Statutory Hall at approximately 2:42 p.m.)

       Prior to exiting the U.S. Capitol, a law enforcement officer was directing individuals to exit.
While GRAY was passing by this officer, the officer stated, “out out out get out.” GRAY stopped
and said, “I am not going out. This is the people’s house. I am not going out.” The officer then
told GRAY that he did not want to hit her with this “thing,” meaning the baton which GRAY’s
back was against. GRAY then responded by saying “you are not going to hit me with a [expletive]
thing.” The officer then asked GRAY to leave again and after she refused to move, forcibly pushed
her forward. GRAY then left the Capitol.




                                (GRAY refusing to leave the Capitol)

        On May 4, 2021, I spoke with GRAY at her residence, who stated that she was invited to
attend a rally in Washington, D.C. by her friend, who is believed to be ISAACS. GRAY confirmed
being inside of the U.S. Capitol on January 6, 2021 and was proud to have been a part of history.
GRAY further stated that she used Facebook video and messaging services to conduct live video
streams of the events that occurred at the Capitol. GRAY added that she had the upmost respect
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for law enforcement but requested to speak to an attorney before making any additional statements
regarding her involvement at the U.S. Capitol. Based on my interactions with Gray, I believe she
is the person depicted and heard in the above-described Facebook video. 9

        Based on the foregoing, your affiant submits that there is probable cause to believe that
ISAACS, HALLON, and GRAY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime
to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that ISAACS, HALLON, and
GRAY violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.

        Your affiant submits there is probable cause to believe that GRAY violated 18 U.S.C.
231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct, impede,
or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.




9
 The FBI has reviewed the available cell phone tower information for ISAACS, HALLON, and GRAY’s
known cell phone numbers in order to determine whether there was any evidence that devices associated
with those cell phone numbers were using the cell phone towers in the area of the U.S. Capitol Building
on January 6, 2021. Agents did not locate ISAACS, HALLON, and/or GRAY’s known cell phone
numbers in the available cell tower data.

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       Your affiant submits there is probable cause to believe that GRAY violated 18 U.S.C. §
1512(c)(2), which makes it a crime to obstruct, influence, or impede any official proceeding, or
attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official proceedings.

       Your affiant submits that there is probable cause to believe that ISAACS violated 18
U.S.C. § 1512(c)(1), which makes it a crime to alter, destroy, mutilate, or conceal a record,
document, or other object, or attempt to do so, with the intent to impair the record, document or
other object’s integrity or availability for use in an official proceeding.




                                                     _________________________________
                                                     MATTHEW R. OLIVER
                                                     Special Agent

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 6th day of June, 2022
                                                                      Zia M. Faruqui
                                                                      2022.06.06 19:15:17
                                                                      -04'00'
                                                     ___________________________________
                                                     HON. ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE




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